          Case 6:17-cv-00952-LSC Document 11 Filed 10/18/17 Page 1 of 1             FILED
                                                                           2017 Oct-18 AM 10:38
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                             JASPER DIVISION
 KEVIN GARNER,                           )
                                         )
          Plaintiff,
                                         )
   vs.                                   )
                                                     6:17-cv-00952-LSC
                                         )
 STATE FARM MUTUAL
                                         )
 AUTOMOBILE INSURANCE
                                         )
 COMPANY,
                                         )
          Defendant.                     )
                                         )
                                         )

                                    Order

         This Court acknowledges receipt of the Plaintiff’s Unopposed Joint

Stipulation of Dismissal without Prejudice (Doc. 10) filed on October 17, 2017.

Accordingly, this action is DISMISSED WITHOUT PREJUDICE and costs are

taxed as paid.

         DONE and ORDERED on October 18, 2017.



                                          _____________________________
                                                 L. Scott Coogler
                                           United States District Judge
                                                                          190485




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